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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                          Case No. 4:17-CR-00293-BSM-04

WESLEY GULLETT                                                               DEFENDANT


                                          ORDER

       The motion for final order of forfeiture [Doc. No. 2417] is granted. Wesley Gullett

has been sentenced, and no one has filed a timely claim to the forfeited property identified

in the preliminary order of forfeiture [Doc. No 2059].

       The United States now has all right, title, and interest in the forfeited property. Any

prior claims in and against the forfeited property are extinguished and declared void. The

property shall be turned over to the United States and disposed of according to law.

       IT IS SO ORDERED this 25th day of April, 2022.




                                                    UNITED STATES DISTRICT JUDGE


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